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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 SUSAN PHILLIPS and JEFFREY                     )
 PHILLIPS, administrators of the estate of      )
 MATTHEW PHILLIPS, deceased,                    )
                                                )
                              Plaintiffs,       )   No. 22 C 1048
                                                )
                       v.                       )   Judge Wood
                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
                              Defendant.        )


                PLAINTIFFS’ NOTICE OF FILING DISCOVERY REQUESTS

        As directed by the Court during the phone hearing this morning during which Plaintiffs’

pending motion (ECF Doc. 39) was discussed, Plaintiffs hereby submit as an attachment to this

Notice their first set of discovery requests, which were propounded on Defendant in December

2022.


                                       Respectfully submitted,

                                       /s/ Jeremy A. Tor
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                                       NICHOLAS A. DICELLO (Admitted Pro Hac Vice)
                                       MICHAEL P. LEWIS (Admitted Pro Hac Vice)
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 14th day of August 2024, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served upon

counsel of record and may be obtained through the Court’s CM/ECF Systems.



                                    /s/ Jeremy A. Tor
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